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                      Exhibit D
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 1                 UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
 2
 3     IN RE:    OIL SPILL           )   MDL NO. 2179
       BY THE OIL RIG                )
 4     "DEEPWATER HORIZON" IN        )   SECTION "J"
       THE GULF OF MEXICO, ON        )
 5     APRIL 20, 2010                )   JUDGE BARBIER
                                     )   MAG. JUDGE SHUSHAN
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17                          ****************
                             VOLUME 1 of 1
18                          ****************
19
20
                       Deposition of HOI NGUYEN, taken at
21     Pan-American Building, 601 Poydras Street, 11th
       Floor, New Orleans, Louisiana, 70130, on October
22     6, 2011.
23
24
25



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         1            A.       (Through the interpreter)        For
         2     emergency?
         3     EXAMINATION BY MR. ESBROOK:
         4            Q.       For anything.
08:37    5            A.       I -- I -- I applied for some
         6     emergency funds, that's, like, from month to
         7     month and for -- for every six months or so.
         8            Q.       And how much did you request from
         9     the GCCF?
08:38 10              A.       Every month they gave me -- I
        11     requested 5,000, and every six months they gave
        12     me a -- a sum for 148, 148,000.
        13            Q.       So every month -- or strike that.
        14            A.       They only gave -- they gave it to me
08:38 15       for a few months.      They only gave me 5,000 a
        16     month for about five -- four or five months.
        17            Q.       Which months did they pay you $5,000
        18     a month for?
        19            A.       May, June, July, maybe August.          I
08:39 20       don't remember.
        21            Q.       And you said they also paid you a
        22     lump sum of $148,000?
        23            A.       The 148,000 was the one when I
        24     applied at six months.
08:39 25              Q.       So when did you apply and request


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         1     the $148,000?
         2            A.       My -- I don't remember the day, but
         3     it's -- it's within a few months afterwards.
         4            Q.       And what documentation did you
08:40    5     submit to the GCCF when you requested the
         6     emergency payments and the lump sum?
         7            A.       I -- I don't -- I don't remember.
         8     I -- I -- I don't remember.
         9            THE INTERPRETER:
08:41 10                       He just repeats himself.
        11     EXAMINATION BY MR. ESBROOK:
        12            Q.       Do you remember how much you
        13     requested from the GCCF?
        14            A.       I know that I received something
08:41 15       with the 5,000 a month payment, I guess,
        16     something around 30 something thousand and the
        17     148,000 lump sum at six months.
        18            Q.       Did you request this money as a way
        19     to replace the income you lost during these
08:41 20       months?
        21            A.       That's correct.
        22            Q.       Okay.    And did this replace the
        23     income you lost during these months?
        24            A.       I -- I really can't answer that,
08:42 25       because some years you would make a little, some


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         1            A.       Yes.
         2            Q.       Great.
         3                     So let's talk a little bit about the
         4     training that you underwent, okay?
09:41    5            A.       Okay.
         6            Q.       I'm probably not going to ask any
         7     more questions about what's in front of you, so
         8     you can put it away if you want.          Don't worry
         9     about it.
09:42 10              MR. WIYGUL:
        11                     Are we going to attach those?
        12            MR. ESBROOK:
        13                     Uh-huh, yeah.     At the very end we
        14     should keep -- give them to the court reporter.
09:42 15       Why don't we just put them in front of her and
        16     we'll put them like this.        Perfect.
        17     EXAMINATION BY MR. ESBROOK:
        18            Q.       So did you receive training to
        19     participate in the VoO program?
09:42 20              A.       Yes, I -- I got some training.
        21            Q.       Okay.    When?
        22            A.       I -- I think it's around the 14th of
        23     May.
        24            Q.       Okay.    And where?
09:42 25              A.       In Biloxi.


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         1            Q.       And what were you trained on?
         2            A.       They just -- it's -- the first day
         3     they showed some videos about how to set the
         4     boom, pull the booms and take care of the booms
09:43    5     and stuff like that.
         6            Q.       Okay.    And were you paid for this
         7     training?
         8            A.       Yes, but -- afterwards is when I
         9     received the 200.
09:43 10              Q.       So not the same rate as the daily
        11     hire pay for your boat, right?
        12            A.       No, it's -- it's only 200.
        13            Q.       Okay.    And why is that?
        14            A.       They just say that it's -- going to
09:43 15       training is like going to work for eight hours,
        16     so they only pay you 200.
        17            Q.       Okay.    But it's different than the
        18     amount of pay you would get for having your boat
        19     on the water?
09:44 20              A.       Yes.
        21            Q.       I'm going to hand you a copy of a
        22     declaration that you signed and your lawyers
        23     filed with the court.
        24                     (Exhibit 3 marked.)
09:44 25       EXAMINATION BY MR. ESBROOK:


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         1     this day I go to -- for training at a mall.
         2     EXAMINATION BY MR. ESBROOK:
         3             Q.      Uh-huh.    And the second sentence
         4     says, "This was the training we were told we had
09:46    5     to get to work under the charter agreement."
         6                     Do you understand that sentence?
         7             A.      Yeah, they -- yes, they -- at the
         8     meeting they did mention this.
         9             Q.      Good.
09:47 10                       What did they tell you exactly?
        11             A.      They -- they said that before I can
        12     work, I need to get a -- a safety permit before I
        13     can go and work.
        14             Q.      Okay.    Is that what you mean when
09:47 15       you say in your declaration that we were told we
        16     had to get to work under the charter agreement?
        17             A.      Yes.
        18             Q.      Okay.    Do you remember who told you
        19     this?
09:48 20               A.      It was at the meeting where they say
        21     you have to go through this training before you
        22     can work.
        23             Q.      Do you remember who said this?
        24             A.      It's -- it's the same group of
09:48 25       people, and -- and my friends tell me -- told me


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         1     the -- the course, from the time I had finished
         2     the course.
         3            Q.       Including this time that you were
         4     just waiting around in Biloxi, right?
09:58    5            A.       Yes.   Yes, that's that period I
         6     stayed at home.
         7            Q.       Did you believe that at -- during
         8     this period from May 14th to May 30th?
         9            A.       I -- I -- from the -- from the 14th
09:58 10       or 15th when I took the class to the 30 or 31st
        11     is when they called me to come and work.
        12            Q.       Right.    I'm not talking about the
        13     31st yet.    I'm just talking about the period of
        14     time from May 14, 2010, to May 30, 2010.
09:59 15              A.       Yes, I just -- at that period I just
        16     stayed home and wait for BP to give me a call.
        17            Q.       Right.    Did you believe at that time
        18     that you were owed money for staying home and
        19     waiting for BP to give you a call?
09:59 20              A.       Yes, according to contract, they --
        21     they have to pay me.
        22            Q.       Did you believe that at that time
        23     during May 14, 2010, to May 30, 2010?
        24            MR. WIYGUL:
09:59 25                       Object to the form of the question.


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         1             A.      Yes.
         2     EXAMINATION BY MR. ESBROOK:
         3             Q.      So when you were sitting at your
         4     house waiting for BP to call, you thought you
10:00    5     should be -- you were earning $3,000 a day?
         6             A.      Because I was under the impression
         7     that I was supposed to take this class in order
         8     to go to work, and after I took the class, I just
         9     stayed home to wait for them to call me and go to
10:00 10       work.
        11             Q.      I understand that.
        12                     What I'm asking you is:        While you
        13     were staying home waiting to be called to go to
        14     work, did you think that you were being paid
10:00 15       $3,000 a day?
        16             A.      Yes, that's -- according to
        17     contract, that's what -- that's what -- that's --
        18     that's what they should pay me.
        19             Q.      Okay.    And you thought that at that
10:01 20       time?
        21             A.      Yes.
        22             Q.      Okay.    But you didn't invoice BP for
        23     that time, right?
        24             A.      No.
10:01 25               Q.      Why?


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         1             A.      Because they say once I start
         2     working, that's when I can invoice in. I can put
         3     the invoice in.
         4             Q.      And who told you that?
10:01    5             A.      From people who have worked at --
         6     and -- and -- and from people who translate for
         7     me, they -- they all said the same thing.
         8             Q.      Okay.    And who specifically?
         9             A.      It's the same group of people I work
10:02 10       with.    And -- and they say that when -- once you
        11     go to work, that -- that's -- that's when you do
        12     it.
        13             Q.      And who are these people, their
        14     names?
10:02 15               A.      There's a Captain Thanh and
        16     something like LUCKY TOMMY and maybe another
        17     eight or ten vessels, something like that.
        18             Q.      And these are the -- are those
        19     people or are those boats?
10:02 20               THE WITNESS:
        21                     Boats.
        22             A.      (Through the interpreter)         Boats.
        23     EXAMINATION BY MR. ESBROOK:
        24             Q.      LUCKY TOMMY is not a person?          No?
10:03 25               A.      It's -- it's -- it's a boat.          It's


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         1                     Yeah.
         2             A.      You -- you -- you pull trolling
         3     nets.
         4     EXAMINATION BY MR. ESBROOK:
10:10    5             Q.      So you pull nets, and that's what
         6     catches the shrimp?
         7             A.      Yes.
         8             Q.      And then what do you do?         You pull
         9     them on the boat, and then you sell them
10:10 10       wholesale at a market or something?
        11             A.      Yes, yes, at a dock.
        12             Q.      And how do they pay you, by, like,
        13     the pound?
        14             A.      It depends also on the size of the
10:10 15       shrimp.
        16             Q.      Let's talk about May 30, 2010.          On
        17     May 30, 2010, you got a call from someone who
        18     told you to leave the dock and go out and get
        19     instructions about work, right?
10:11 20               A.      Yes.
        21             Q.      It was -- who -- who called you?
        22             A.      It's a Vietnamese person.
        23             Q.      Do you know the name?
        24             A.      Anna or something like that.
10:11 25               Q.      Anna or something like that?


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         1             A.      It's something -- something like
         2     Anna, Anna.
         3             Q.      And was this a representative of the
         4     VoO program?
10:12    5             A.      I -- I -- I -- I don't know if
         6     that's the case, but they asked me if I can bring
         7     my boat out that day.
         8             Q.      And what did you say?
         9             A.      And I said it was -- it was dark and
10:12 10       was too late, and I could go tomorrow after I go
        11     and pick up some supplies.
        12             Q.      Okay.    So you declined -- or strike
        13     that.
        14                     You said no to her offer to go out
10:12 15       on May 30th?
        16             MR. WIYGUL:
        17                     Object to the form of the question.
        18             A.      Yes.
        19     EXAMINATION BY MR. ESBROOK:
10:12 20               Q.      Because you could say no if you
        21     wanted to?
        22             A.      Because it -- it was too late, and I
        23     had no supplies, no food supplies, so I asked if
        24     I could go out tomorrow after I go and make a run
10:13 25       for food supplies.


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         1     2010?
         2             THE INTERPRETER:
         3                     I'm sorry?
         4     EXAMINATION BY MR. ESBROOK:
10:15    5             Q.      Did you invoice for May 30, 2010?
         6             A.      No.
         7             Q.      No.
         8                     Why not?
         9             A.      Because -- because from what people
10:15 10       say, you only invoice for the days that you go
        11     out, so I didn't go out for that day, so I
        12     can't -- I can't turn in any -- any invoice.
        13             Q.      Do you know what time she called
        14     you?
10:15 15               A.      Around 4:00 or 5:00 o'clock.
        16             Q.      Okay.    And so that day you went and
        17     you bought food and supplies and all of that
        18     stuff?
        19             A.      Yes, and I left 6:00 o'clock that
10:16 20       morning.
        21             Q.      Okay.    Where did you go?
        22             A.      I -- I went out to, I guess, BP's
        23     ship.
        24             Q.      So did the dispatcher tell you where
10:16 25       to go on May 31, 2010?        Is that how you knew


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         1     where to go?
         2             A.      Yes, they gave us, I guess, the
         3     NORAD number or VHF number.
         4             Q.      Okay.    And what's that?
10:16    5             A.      All -- all I know is that that's --
         6     that boat is at that location.
         7             Q.      Okay.    So the woman you spoke with
         8     told you to go to a particular location?
         9             A.      Yes.
10:17 10               Q.      Right.    And she told you that on
        11     May 30, 2010, right?
        12             A.      Yes, they called, and I said, I
        13     can't make it out there right away on the 30th,
        14     but I have to be -- be out there by 7:00 a.m. the
10:17 15       next morning.
        16             Q.      Right.    I -- I just want to make
        17     sure this woman that you spoke with on May 30,
        18     2010, instructed you where to go to get
        19     instructions the next day about what to do for
10:17 20       the VoO program, right?
        21             A.      Okay.
        22             Q.      Right?
        23             A.      Yes.
        24             Q.      Okay.    And where did she tell you to
10:18 25       go?


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         1             A.       Yes, gave me a LORAN number, LORAN
         2     number.      Does that make sense?
         3             Q.       Yes, it does.
         4             MR. WIYGUL:
10:18    5                      Yes, it makes sense.
         6     EXAMINATION BY MR. ESBROOK:
         7             Q.       It absolutely makes sense.
         8                      Can you tell me what a NORAD number
         9     is?   Does that describe a particular vocation or
10:18 10       something?
        11             THE INTERPRETER:
        12                      It's --
        13             MR. WIYGUL:
        14                      It's LORAN.
        15             MR. ESBROOK:
        16                      Oh, LORAN, L-O-R-A-N?
        17             MR. HEBERT:
        18                      It's GPS.
        19             MR. ESBROOK:
10:18 20                        GPS.   Is this like latitude and
        21     longitude?
        22             THE REPORTER:
        23                      One at a time, please.
        24     EXAMINATION BY MR. ESBROOK:
10:18 25               Q.       So this woman gave you the


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         1     told me to go there and -- and de --
         2     decontaminate my boat, and that was it.
         3             Q.      Okay.    And so what'd you do?
         4             A.      They did the same thing we always
10:42    5     do, they gave me a LORAN number.          I'd go to that
         6     location, I'd decontaminate that boat, and then I
         7     go home.
         8             Q.      Okay.    Well -- so you went and got
         9     your boat decontaminated, right?
10:42 10               A.      Yes.
        11             Q.      Okay.    Where was this?
        12             A.      Close to Mobile or close to Mobile
        13     bridge, Dauphin Island, something like that.
        14             Q.      Okay.    And can you tell me what they
10:42 15       did to decontaminate your boat?
        16             A.      They would tell me to get there
        17     and -- and -- and -- and wait.          And when I got
        18     there, there was a boat in front of me, and when
        19     that boat had finished, I pulled my boat in to
10:43 20       get decontaminated.
        21             Q.      Okay.    I don't know a lot about the
        22     decontamination process.         Can you tell me what
        23     they did to decontaminate your boat?
        24             A.      They -- I would -- I would get close
10:43 25       to the side and they would come up on top and


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         1     they would pressure wash my boat down, kind of
         2     like a car wash.
         3             Q.      Okay.    So it's cleaning your boat,
         4     essentially?
10:43    5             A.      Yeah, that's -- that's all they did.
         6     They told me to go home right afterwards.
         7             Q.      So they -- they pressure washed the
         8     side of your boat?
         9             A.      Yes, both sides.
10:44 10               Q.      Both sides.
        11                     Did they do anything else?
        12             A.      That's it.
        13             Q.      Did they come on board your boat?
        14             A.      No.
10:44 15               Q.      Did you talk to anyone who was
        16     decontaminating your boat?
        17             A.      Yes, I spoke to the people who
        18     decontaminate the boats.
        19             Q.      And what did you say?
10:44 20               A.      I just -- just -- just petty
        21     conversation, how are you, stuff like that, while
        22     I'm waiting.
        23             Q.      Did you talk to them aboard your
        24     boat or were they on a separate boat or where
10:44 25       were you and where were they?


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         1             Q.      It was light enough to see that
         2     there was oil on the boat, though, right?
         3             A.      Yes.
         4             Q.      Okay.    Well, then, why didn't you
10:46    5     tell any -- why didn't you say anything to the
         6     people decontaminating your boat?
         7             A.      Well, they -- it wasn't a lot.          It
         8     was just, you know, little specks here and there,
         9     but it wasn't -- it wasn't really a lot.
10:47 10               Q.      So do you feel that your boat was
        11     fully clean after that decontamination?
        12             MR. WIYGUL:
        13                     Object to the form.
        14             A.      Well, according to me, it's -- it's
10:47 15       not clean.     But if they say to go home, I just go
        16     home.
        17     EXAMINATION BY MR. ESBROOK:
        18             Q.      So you didn't feel your boat was
        19     clean after decontamination on July 16, 2010?
10:47 20               A.      That -- the first time that -- that
        21     day, that first time you're talking about that
        22     they -- they cleaned the boat?
        23             Q.      Talking about the decontamination on
        24     July 16, 2010.
10:48 25               A.      Yes, because it's still very dirty


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         1     right?
         2             MR. WIYGUL:
         3                     Objection to the form of the
         4     question.
10:49    5             A.      But BP said that you do whatever
         6     they say.     You can't argue with them.
         7     EXAMINATION BY MR. ESBROOK:
         8             Q.      What I'm asking you, though, is that
         9     you certainly could have told them that your boat
10:50 10       was still dirty, right?
        11             A.      Well, it's -- it's -- it's true, but
        12     the thing is BP told us that we have to do what
        13     they say, and we can't argue with what they say.
        14     So if they say -- tell us to go home, we have to
10:50 15       go home.
        16             Q.      But it's true you could have told
        17     them?
        18             MR. WIYGUL:
        19                     Objection to the form.
10:51 20               A.      Because -- we could have said it,
        21     but then if we argue with them, they may -- they
        22     might not call us back to work.
        23     EXAMINATION BY MR. ESBROOK:
        24             Q.      Okay.    But you didn't tell them you
10:51 25       thought your boat was still dirty, right?


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         1             A.      Yes, I didn't say it.
         2             Q.      Okay.    So what did you do after you
         3     left the decontamination sect?
         4             A.      I went home.
10:51    5             Q.      Did you first talk to someone --
         6     strike that.
         7                     (Exhibit 5 marked.)
         8     EXAMINATION BY MR. ESBROOK:
         9             Q.      Okay.    Mr. Nguyen, I've handed you
10:52 10       what's marked as Exhibit 5.
        11                     Do you see that?
        12             A.      Yes.
        13             Q.      Do you recognize this?
        14             A.      Yes.
10:53 15               Q.      Can you look at the bottom of the
        16     page, please?
        17                     Do you see your signature?
        18             THE WITNESS:
        19                     Yes.
10:53 20               A.      (Through the interpreter)         Yes.
        21     EXAMINATION BY MR. ESBROOK:
        22             Q.      Okay.    That's your signature?
        23             THE WITNESS:
        24                     Yes.
10:12 25               A.      (Through the interpreter)         Yes.


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         1             Q.      Sorry.
         2                     Did you try to do anything to get
         3     your boat decontaminated?
         4             A.      No, I just docked -- docked right
11:35    5     there and wait.
         6             Q.      Did you tell anyone that you needed
         7     additional decontamination?
         8             A.      No.
         9             Q.      And that's a long period of time.
11:35 10       That's nearly -- well, let's see, it's, you know,
        11     a month and a half around about.          That's not a
        12     question.
        13                     So for that period of time, why
        14     didn't you try to get it cleaned?
11:35 15               MR. WIYGUL:
        16                     Object to the form.
        17             A.      Because I was still under the
        18     impression that I was on standby and still
        19     working, so we -- we just had to -- to wait --
11:35 20       wait for them on standby.
        21     EXAMINATION BY MR. ESBROOK:
        22             Q.      And why were you under that
        23     impression?
        24             A.      Because there is -- because there is
11:36 25       no paperwork that says that we have been


                        PURSUANT TO CONFIDENTIALITY ORDER
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 1                   UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
 2
       IN RE: OIL SPILL       ) MDL NO. 2179
 3     by the OIL RIG,        )
       DEEPWATER HORIZON in   ) SECTION "J"
 4     the GULF OF MEXICO,    )
       April 20, 2010         ) JUDGE BARBIER
 5                            )
                              ) MAG. JUDGE SHUSHAN
 6                            )
 7                  REPORTER'S CERTIFICATION
                    DEPOSITION OF HOI NGUYEN
 8                   TAKEN OCTOBER 6, 2011
 9              I, Rene White Moarefi, Certified
       Shorthand Reporter in and for the State of Texas,
10     hereby certify to the following:
11              That the witness, HOI NGUYEN, was duly
       sworn by the officer and that the transcript of
12     the oral deposition is a true record of the
       testimony given by the witness;
13              That the deposition transcript was
       submitted on _________________, 2011, to the
14     witness or to Attorney __________________for
       examination, signature and return to Worldwide
15     Court Reporters, Inc., by __________________,
       2011.
16              That the amount of time used by each
       party at the deposition is as follows:
17
                MR. CHRISTOPHER J. ESBROOK - 04:18
18              MR. ROBERT B. WIYGUL - 00:04
19              I further certify that I am neither
       counsel for, related to, nor employed by any of
20     the parties in the action in which this
       proceeding was taken, and further that I am not
21     financially or otherwise interested in the
       outcome of the action.
22
23
24
25



                PURSUANT TO CONFIDENTIALITY ORDER
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 1                SUBSCRIBED AND SWORN to by me this
       6th day of October, 2011.
 2
 3
 4
 5           ___________________________________
             RENE WHITE MOAREFI, CSR, CRR, RPR
 6           CSR NO. 3070; Expiration Date: 12-31-12
             Worldwide Court Reporters
 7           Firm Registration No. 223
             3000 Weslayan, Suite 235
 8           Houston, TX 77027
             (713) 572-2000
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                PURSUANT TO CONFIDENTIALITY ORDER
